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                            EXHIBIT A
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Certificate of Registration
       sTATt            This Certificate issued under the seal'ofthe Copyright
  49
                        Office in accordance with title i7, United States Code,
               $        attests that registration has been made for the work
                        identified below. The information on thiS certificate has
               y.       been made a part ofthe Copyright Office records.                  Registration Number:

    • 1 70
                                                                                         VALI 996-688
                                                                                            Bffective date of
                        Register    Copyrights,United States of America                       registration: .
                                                                                              June 9,1008




   Title
                           Title of Work: INS-7003
                        Nature ofWork: Jewelry Design
   Completion/ Publication
                    Year ofCompletion: 2008

   Author
                    •              Author: Barry Nisguretsky
                        Author Created: Jewelry design

                    Work made for hire: No
                               Citizen of: United States
                              Year Born: 1966
                             Anonymous: No                                          PseudonYmous: No

   Copyright,claimant
                    Copyright Claimant: Barry Nisguretsky
                                            c/o Vetragio, 132 W.36th St,8th Floor, New York,    10018


   Limitation of copyright claim
                    Previously registered: No

   Certification
                                    Name: Barry Nisguretsky
                                     Date: June 12,2008




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Certificate of Registration
                 This Certificateissued under the seal of the Copyright
                 Office in accordance with title 17, United States Code,
                 attests-that registration has been made for the work
                 identified below. The information on this certificate has
                                                                                        Registration Number
               _ been made a part of the Copyright Office records.
                                                                                     VA 1-798-116
                                                                                          Effective date of
                                                                                            registration:
                   Register ofCopyrights,United States of America                          January 3,2012




   Title
                        Title of Work: INS-7047
   Completion/Publication
               Year of Completion: 2009
            Date of1st Publication: January 4,2010                   Nation Of 1st Publicaiion: United States

   Author
               ■             Author: Barry Nisguretsky
                    Author Created: jewelry design

                           Citizen of: United States                             Domiciled in: United States

   Copyright claimant
              Copyright Claimant: Barry Nisguretsky
                                        132 West 36th street, New York


   Certification
                               Name: Barry Nisguretsky
                                Date: January 3,2012




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Certificate of Registration
       v sTATt            This Certificate issued under the seal of the Copyright
                          Office in accordance with title 17, United States Code,
                  •       attests that registration has been made for the work
AZ?
a                 •       identified below.The information on this certificate has
                  •
                  -/      been made a part ofthe Copyright Office records.                    Registration Number
                  o

                                           •                                              VAu       1-049-916
        '1 870'
                                                                                                Effective date of
                                                                                                  registration:
                          Acting Register of Copyrigl-ts,United States of America
                                                                                                December 8,2010




      Title
                              Title of Work: AFN-5001R
      Completion/Publication
                       Year of Completion: 2010

      Author
                                    Author: Barry Nisguretsky
                           Author Created: jewelry design

                       Work made for hire: No
                                 Citizen of: Unite States                              Domiciled in: United States
                                 Year Born: 1966

      Copyright claimant
                       -Copyright Claimant: Barry Nisguretslcy
                                               132 west 36th street, 8th floor, new york, NY,10018,United States


       Rights and Permissions
                  Organizatioti Namei          Verragio
                                      Name: Barry Nisguretsky
                                               verragio@grnail.com                                        Telephone:   212-868-8181
                                   Addres: 132 west 36th street
                                               8th floor
                                               new york, NY 10018 United States

      Certification
                                      Name: Barry Nlsguretsky
                                       Date: November 30,2010




                                                                                                                         Page 1 of 1

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